                         UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF NORTH CAROLINA
                              ASHEVILLE DIVISION
                               1:17-cv-48-MOC-DLH

HELEN HOLLAND, Individually,        )
on behalf of herself and on behalf of
                                    )
all other similarly situated current and
                                    )
former employees,                   )
                                    )
                  Plaintiffs,       )
                                    )
vs.                                 )
                                    )
FULENWIDER ENTERS., et al.,         )                        ORDER
                                    )
                  Defendants.       )
___________________________________ )

       THIS MATTER is before the Court on the Joint Motion for Settlement Approval and

Dismissal with Prejudice. The Court has reviewed the settlement in this case which has been

approved by all Named and Opt-In Plaintiffs, and, comparing such with the pleadings already

filed in the case, finds the settlement to be a fair, adequate, and reasonable compromise of a

dispute under the Fair Labor Standards Act, 29 U.S.C. § 201, et seq. (the “FLSA”). Based on

such determination, the Court enters the following Order approving the settlement, dismissing

the case, and retaining jurisdiction to enforce the terms of the agreement if necessary.

                                             ORDER

       IT IS, THEREFORE, ORDERED that the joint Motion for Settlement Approval and

Dismissal with Prejudice is GRANTED, the proposed settlement is APPROVED as it is a fair,

adequate, and a reasonable compromise of a dispute under the Fair Labor Standards Act, and this

action is DISMISSED with prejudice, with the Court retaining jurisdiction to enforce the terms

of the agreement, if necessary.

       IT IS FURTHER ORDERED that each party shall bearing their own attorneys’ fees

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and costs, except as set forth in the settlement agreement.

       The Clerk of Court is instructed to close this case.



 Signed: April 5, 2019




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